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                                                                                                         US009 199108B2


  (12) United States Patent                                                             (10) Patent No.:                 US 9,199,108 B2
         Guo et al.                                                                     (45) Date of Patent:                       Dec. 1, 2015
  (54) FIRE EXTINGUISHING COMPOSITION                                                           FOREIGN PATENT DOCUMENTS
          GENERATING FIRE EXTINGUISHING
          SUBSTANCE THROUGH                                                        CN                1052880 A         7, 1991
                                                                                   CN                1064818 A         9, 1992
          HIGH-TEMPERATURE DECOMPOSITION                                           CN                1238226 A        12/1999
  (71) Applicant: XIAN J&R Fire Fighting Equipment                                 CN                1322580 A        11, 2001
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                  Co., Ltd, Xi'an (CN)                                             CN                1600391 A         3, 2005
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  (73) Assignee: XIAN J&R Fire Fighting Equipment                                  CN              101822883. A        9, 2010
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  (*) Notice: Subject to any disclaimer, the term of this
                  patent is extended or adjusted under 35                                             OTHER PUBLICATIONS
                  U.S.C. 154(b) by 0 days.                                         “The Security Analysis of Gas Fire extinguishing System” (Fire
  (21) Appl. No.: 14/638,740                                                       Science and Technology 2002 21(5)) 4pgs.
  (22) Filed:     Mar. 4, 2015                                                     Linteries et al., “Flame Inhibition by Ferrocene, Alone and with CO2
                                                                                   and CF3H.” Halon Options Technical Working Conference, pp. 129
  (65)                       Prior Publication Data                                140, May 2000.
          US 2015/O174439 A1                 Jun. 25, 2015                         Linteries et al., “Flame Inhibition by Ferrocene and Blends of Inert
                                                                                   and Catalytic Agents.” Proceedings of the Combustion Institute, vol.
               Related U.S. Application Data                                       28, pp. 2965-2972, May 2000.
                                                                                   Shou et al., “Fire safety analysis of gas fire extinguishing system.”
  (63) Continuation of application No. 13/824,123, filed as                        Jun. 2002, 3 pgs.
       application No. PCT/CN2011/079429 on Sep. 7,                                International Search Report for PCT Application No. PCT/CN2011/
       2011, now abandoned.                                                        079429, dated Dec. 15, 2011 (5 pages).
  (30)          Foreign Application Priority Data                                  Written Opinion for PCT Application No. PCT/CN2011/079429,
                                                                                   dated Dec. 15, 2011 (10 pages).
    Sep. 16, 2010          (CN) .......................... 2010 1 0285531          Prosecution History from U.S. Appl. No. 13/824, 103, dated Oct. 10,
                                                                                   2013 through Jul. 2, 2014, 31 pp.
  (51) Int. Cl.                                                                    Prosecution History from U.S. Appl. No. 13/824,123, dated Oct. 9,
          A62D L/06                     (2006.01)                                  2013 through Mar. 4, 2015, 86 pp.
          A62C35/02                     (2006.01)                                  Prosecution History from U.S. Appl. No. 13/824, 142, dated Oct. 8,
          A62C I3/02                    (2006.01)                                  2013 through Jun. 18, 2014, 34 pp.
          A62C5/00                      (2006.01)
          A62C3L/02                     (2006.01)                                  * cited by examiner
  (52) U.S. Cl.
       CPC. A62D I/06 (2013.01); A62C5/006 (2013.01);                              Primary Examiner — Joseph D Anthony
             A62C 13/02 (2013.01); A62C31/02 (2013.01);                            (74) Attorney, Agent, or Firm — Shumaker & Sieffert, P.A.
                                    A62C35/023 (2013.01)
  (58) Field of Classification Search
          CPC ........................................................ A62D 1/06   (57)                      ABSTRACT
          See application file for complete search history.                        The present disclosure relates to a fire extinguishing compo
  (56)                       References Cited                                      sition generating fire extinguishing Substance through high
                                                                                   temperature decomposition; the fire extinguishing composi
                    U.S. PATENT DOCUMENTS                                          tion includes a fire extinguishing material which can be
                                                                                   decomposed to release Substance with fire extinguishing
         2,901,428 A          8/1959 Schulenburg                                   properties during the heating process; the content of the fire
         3,017,348 A          1/1962 Schulenburg et al.                            extinguishing material is at least 80 wt %; a pyrotechnic agent
         4,207,245 A          6, 1980 Halbert
         5,055,208 A         10, 1991 Stewart et al.                               is adopted as a heat Source and a power Source in a process of
         5,071,076 A         12/1991 Chagnon et al.                                fire extinguishing; and the purpose of fire extinguishing is
         5,423.385 A          6, 1995 Baratov et al.                               achieved by: igniting the pyrotechnic agent, generating a
         5,466,386 A         11/1995 Stewart et al.                                large quantity of fire Substance from the fire extinguishing
         5,613,562 A          3, 1997 Galbraith et al.                             composition in the use of high temperature produced by burn
         5,831.209 A * 1 1/1998 Kozyrev et al. ................. 149.21
         6,042,664 A * 3/2000 Kozyrev et al. ..              149,109.6             ing pyrotechnic agent, and the fire Substance sprays out
         8,652,346 B2         2/2014 Guo et al. ......................... 252/5    together with the pyrotechnic agent. Compared with the tra
         8,865,014 B2        10/2014 Guo et al.                                    ditional aerosol fire extinguishing systems, the gas fire extin
         8,871,110 B2        10/2014 Guo et al.                                    guishing systems and the water type extinguishing systems,
   2003/0197159 A1 10, 2003 Kinase et al.
   2007, OO18143 A1  1/2007 Goossens                                               the present disclosure provides a more efficient and safer fire
   2010/01792.59 A1* 7, 2010 Guo et al. ..................... 524/105              extinguishing composition.
   2010.01874.65 A1  7, 2010 Guo et al. ......................... 252/5
   2013/0175060 A1* 7, 2013 Guo et al. ....................... 169/46
   2013, O181158 A1  7, 2013 Guo et al.                                                               14 Claims, No Drawings
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                                1.                                                                   2
         FIRE EXTINGUISHING COMPOSITION                               gas; Through the experiments, people find that the products
         GENERATING FIRE EXTINGUISHING                                generated by heating and decomposing some test Substances
               SUBSTANCE THROUGH                                      can obviously improve the fire-extinguishing effect of the
        HIGH-TEMPERATURE DECOMPOSITION                                nitrogen, carbon dioxide and CFH gas (Halon Options Tech
                                                                      nical Working Conference, April 2001, Albuquerque, N.
     This application is a continuation of U.S. patent applica Mex. Suppression of cup-burner diffusion flames by super
  tion Ser. No. 13/824,123, filed Mar. 15, 2013 now abandoned,        effective chemical inhibitors and inert compounds; Combus
  which is a 371 National Phase Application based on Interna tion and Flame 129:221-238(2002) Inhibition of Premixed
  tional Application PCT/CN2011/079429, filed Sep. 7, 2011, Methane Flame by Manganese and Tin Compounds, Halon
  which claims priority to Chinese Application 10 Options Technical Working Conference May 2000, flame
  201010285531.1, filed Sep. 16, 2010. The entire contents of inhibition by ferrocene, alone and with CO and CFH).
  each are incorporated by reference herein.                             However, the researches of the project group stopped after
                                                                      the laboratory theoretical research, without practically apply
                       TECHNICAL FIELD                                ing the research findings in fire extinguishers.
                                                                   15    The existing aerosol fire extinguishing agent mainly
     The present disclosure relates to the fire-fighting field, includes the S type and K type fire extinguishing agents, by
  relating to a use of a fire extinguishing composition and a comprehensively analyzing the performance characteristics,
  chemical fire extinguishing Substance, and in particular to a the disadvantages are mainly as follows: all the aerosol fire
  fire extinguishing composition which can generate fire extin extinguishing agents use the fire extinguishing agents togen
  guishing Substance through high-temperature decomposi erate an oxidation-reduction reaction, which releases a large
  tion.                                                               number of gas and active particles, finally to achieve the
                                                                      chemical and physical combination fire-extinguishing pur
                          BACKGROUND                                  pose via the chain scission reaction of the active particles and
                                                                      the coverage Smothering of the large number of gas. The
     Since the specific objectives of replacing the Halon fire 25 aerosol fire extinguishing agent can release a large amount of
  extinguishing agent were proposed to each country by The heat while releasing the aerosol during the combustion reac
  Canada Montreal Convention in 1987, all the countries of the        tion; in order to effectively lower the temperature of the
  world were dedicated to the research of new fire extinguish device and the aerosol, and to avoid a secondary fire, a cooling
  ing technologies; people have made great efforts in order to system needs to be added, which causes complicated and
  find a fire extinguishing technology which has high fire extin 30 heavy device structure, complicated technical process and
  guishing efficiency and no environment pollution.                   high cost; because of the existence of the cooling system, a
     The gas fire extinguishing systems, the powder fire extin large number of active particles are inactivated, and the fire
  guishing systems, the water type fire extinguishing systems extinguishing performance is greatly reduced.
  and the like, which are environmentally friendly, are widely
  used as the Substitutes of the Halon fire extinguishing agent. 35                            SUMMARY
  The fire extinguishing mechanism of an inert gas fire extin
  guishing system, such as carbon dioxide. IG541 and the like,           Aiming at the current situations of the existing fire extin
  is mainly based on physical extinguishing, namely, Smother guishing devices, and in particular to the inherent defects of
  ing extinguishing by reducing the oxygen concentration in a the aerosol fire extinguishing systems, the purpose of this
  fire area, Such fire extinguishing method will easily threaten 40 present disclosure is to provide a fire extinguishing compo
  the safety of the individuals. The powder fire extinguishing sition which needs no pressure storage, and is safer, more
  system implements fire extinguishing via the process in environmentally friendly and efficient. A fire extinguishing
  which the sprayed powder contacts with the flame under the device is described comprising: a nozzle and a composition
  force of pressurized gas to generate the physical and chemical comprising a pyrotechnic agent and a fire extinguishing com
  inhibition effect; the water spraying fire extinguishing system 45 position placed within the fire extinguishing device; the fire
  achieves the purpose of controlling the fire, inhibiting the fire extinguishing composition is arranged above the pyrotechnic
  and extinguishing the fire under triple roles of cooling, Smoth agent within the fire extinguishing device closer to the nozzle
  ering and isolating thermal radiation of the water mist.            of the fire extinguishing device, the fire extinguishing com
     However, these fire extinguishing systems need to be position generates fire extinguishing Substance by high-tem
  stored under high pressure, not only causes larger Volume, but 50 perature decomposition, wherein the fire extinguishing com
  also have the risks of physical explosion during storage pro position comprises: a fire extinguishing material which can
  cess; the document “The Security Analysis of Gas Fire extin be decomposed to release a fire extinguishing Substance with
  guishing System” (Fire Science and Technology 2002 21(5)) fire extinguishing properties during a heating process, the
  analyzes the risks of the gas fire extinguishing system, and content of the fire extinguishing material being at least 80 wt
  enumerates the safety accidents caused by the storage pres 55 %; wherein the pyrotechnic agent is adopted as a heat source
  Sure gas fire extinguishing system when in use.                     and a power source in a process of fire extinguishing, the
     In recent years, people have been researching the fire extin pyrotechnic agent is a pyrotechnic aerosol fire extinguishing
  guishing Substances which can replace Halon, wherein the agent, and wherein fire extinguishing is achieved by: igniting
  Next Generation Fire Extinguishing Technology Project the pyrotechnic agent, generating a large quantity of fire
  Group (NGP) of the Building and Fire Research Centre of the 60 extinguishing Substance from the fire extinguishing compo
  U.S. National Institute of Standards and Technology (NIST) sition in the use of high temperature produced by burning
  did a large number of experimental researches in the aspect of pyrotechnic agent, and the fire extinguishing Substance spray
  finding new fire extinguishing Substances, the process ing out together with the pyrotechnic agent.
  includes: heating nitrogen, carbon dioxide and CF3H gas, and           The fire extinguishing composition in the present disclo
  then using the heated high-temperature gas to heat the test 65 Sure, namely, the fire extinguishing composition generating
  Substances; the test Substances are then decomposed under fire extinguishing Substance through high-temperature
  high temperature, which acts on the flame together with the decomposition includes a fire extinguishing material which is
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                                                      US 9,199,108 B2
                               3                                                                  4
  capable of generating fire extinguishing Substance through         mine-based fire extinguishing material, tetrabromobisphenol
  high-temperature decomposition, wherein the content thereof        A, tetrabromobisphenol A ether, 1.2-bis(tribromophenoxy)
  is more than 80 wt %.                                              ethane, N.N-ethylene-bis(tetrabromophthalimide), Dimethyl
     Besides including the fire extinguishing material which is 4-bromophthalate, tetrabromo phthalic disodium, decabro
  used as the main fire extinguishing material, and which can modiphenyl ether, 1,4-Bis(pentabromophenoxy)tetrabro
  generate the fire extinguishing Substance through high-tem mobenzene (ie.DBDPOB), 1,2-bis(pentabromophenyl)
  perature decomposition, the fire extinguishing composition ethane, bromo trimethylphenyl indane, pentabromobenzyl
  in the present disclosure can also properly add various addi acrylate (ie..BTMPI), hexabromo-benzene, pentabromotolu
  tives which are commonly used in the fire-fighting field.          ene, hexabromocyclododecane, N,N'-1,2-ethylene-bis(5,6-
     The fire extinguishing composition for generating fire 10 dibromonorbomane-2,3-dicarboximide)                  (ie.DEDBFA),
  extinguishing Substance through high-temperature decompo pentabromo chlorocyclohexane, brominated Styrene                copoly
  sition in the present disclosure can achieve the following mer, tetrabromobisphenol A carbonate oligomer, poly(pent
  effects at the same time: first, the fire extinguishing compo abromobenzyl acrylate) (ie, PPBBA), poly(dibromo phe
  sition capable of generating the fire extinguishing Substance
  via high temperature decomposition can be decomposed to 15 nylene ether); chlorine-based fire extinguishing material:
  release the fire extinguishing Substance at the moment of dechlorane plus, chlorendic anhydride, perchloropentacyclo
  heating, so as to fulfill the target of fire extinguishing via decan, tetrachlorobisphenol A, chlorinated polypropylene,
  using the physical or chemical inhibition effect, or the physi chlorinated polyvinyl chloride, vinyl chloride-vinylidene
  cal and chemical synergistic inhibition effect of the fire extin chloride copolymer, chlorinated polyether, organophospho
  guishing Substances; second, via the inhibition effect of the rus-based fire-extinguishing material: 1-oxo-4-hydroxym
  decomposition products, the fire extinguishing effectiveness ethyl-2,6,7-trioxa-1-phosphabicyclo 2.2.2]octane, 2,2-dim
  of the fire extinguishing agent is further improved while ethyl-1,3-propanediyl-di(neopentylglycolato) bisphosphate,
  reducing the after-combustion possibility of the fire source:      9,10-dihydro-9-Oxa-10-phosphaphenanthrene-10 oxide, bis
  third, the fire extinguishing composition can do heat absorp (4-carboxyphenyl) phenyl phosphine oxide, bis(4-hydrox
  tion rapidly when decomposing under high-temperature heat 25 yphenyl)phenylphosphine oxide, phenylphosphate diphenyl
  ing, thus can effectively and rapidly reduce the heat released Sulfone ester oligomer, phosphorus-halogen based fire-extin
  by burning the pyrotechnic agent, which greatly reduces the guishing material: tri(2,2-di(bromomethyl)-3-bromopropyl)
  temperature of the nozzle of the fire extinguishing device and phosphate, tri(dibromophenyl) phosphate, 3.9-bis(tribro
  the sprayed Substances, thus the complicated cooling system mophenoxy)-2,4,8,10-tetroxa-3,9-diphosphaspiro ring 5.5-
  of the fire extinguishing device is not needed any more, and 30 3,9-dioxide undecane, 3.9-bis(pentabromophenoxy)-2,4,8.
  the risks of generating a secondary fire are removed; fourth,      10-tetroxa-3,9-diphosphaspiro          ring 5.5-3,9-dioxide
  the fire extinguishing composition can be processed and undecane, 1-oxo-4-tribromophenyl oxycarbonyl-2,6,7-tri
  molded easily, and can be independently used or matched oxa-1-phosphabicyclo2.2.2 octane, p-phenylene tetra(2.4.
  with the physical coolant; fifth, the fire extinguishing com 6-tribromophenyl) bisphosphate, 2,2-dimethyl-1,3-pro
  position has stable performance, and is easy to be stored for a 35 panediyl -di (neopentyl glycolato) bisphosphate, 2.9-di
  longtime; sixth, the fire extinguishing composition has low or (tribromo                   neopentyloxy)-2,4,8,10-tetroxa-3.9-
  no toxicity, is environment friendly and has excellent perfor diphosphaspiro ring 5.5-3,9-dioxide undecane; nitrogen
     aCC.                                                            based and phosphorus-nitrogen based fire-extinguishing
     The fire extinguishing composition generating fire extin material: melamine cyanurate, melamine orthophosphate,
  guishing Substance through high-temperature decomposition 40 dimelamine orthophosphate, melamine polyphosphate,
  in the present disclosure is described below in details.           melamine borate, melamine octamolybdate, tri-hydroxyethyl
     The fire extinguishing composition in the present disclo isocyanurate, 2,4-diamino-6-(3,3,3-trichloropropyl)-1,3,5-
  Sure includes the fire extinguishing material generating the triazine, 2,4-di(N-hydroxymethylamino)-6-(3,3,3-trichloro
  fire extinguishing Substance through high-temperature propyl-1,3,5-triazine), phosphate dibasic guanidine, guani
  decomposition, of which the content is more than 80 wt %. 45 dinium dihydrogen phosphate, guanidine carbonate,
     The flame inhibition mechanism of the fire extinguishing guanidine Sulfamate, urea, urea dihydrogen phosphate,
  composition for generating fire extinguishing Substance dicyandiamide, bis(2,6,7-trioxa-1-phosphabicyclo 2.2.2
  through high-temperature decomposition is as follows:              octane-1-oxy-4-methyl) hydroxy phosphate melamine, 3.9-
     The fire extinguishing composition can be decomposed to dihydroxy-3,9-dioxy-2,4,8,10-tetroxa-3,9-diphosphaspiro
  release the fire extinguishing Substance under high-tempera 50 ring 5.5 undecane-3,9-dimelamine, 1,2-di(2-oxy-5,5-dim
  ture; the fire extinguishing Substance can have reactions with ethyl-1,3-dioxa-2-phosphorus heterocyclic hexyl-2-amino)
  one or more of O,OH, H free radicals which are necessary for ethane, N,N'-dic 2-oxy-5,5-dimethyl-1,3-dioxa-2-phospho
  the chain combustion reaction via the free radicals, so as to cut  rusheterocyclic hexyl)-2,2'-m-phenylenediamine, tri(2-oxy
  off the chain combustion reaction; and also can reduce the         5,5-dimethyl-1,3-dioxa-2-heterocyclic        hexyl-2-methyl)
  partial pressure of oxygen via physical effect to inhibit the 55 amine, phosphonitrilic chloride trimer; inorganic fire-extin
  flames, or can simultaneously generate the physical and guishing material: ammonium polyphosphate, diammonium
  chemical inhibition effect to together realize the fire extin hydrogen phosphate, ammonium dihydrogen phosphate, Zinc
  guishing effect; Meanwhile, it can generate synergistic inter phosphate, aluminium phosphate, boron phosphate, anti
  action with the pyrotechnic agent to further improve the fire mony trioxide, aluminium hydroxide, magnesium hydroxide,
  extinguishing effectiveness of the fire extinguishing agent, 60 hydromagnesite, alkaline aluminum oxalate, Zinc borate,
  which greatly shorten the effective fire extinguishing time.       barium metaborate, Zinc oxide, Zinc sulfide, Zinc sulfate hep
     In order to guarantee the stable performance of the fire tahydrate, aluminum borate whisker, ammonium octamolyb
  extinguishing composition under normal temperature, and to date, ammonium heptamolybdate, Zinc stannate, tin oxide,
  conveniently have long-term storage, the melting point of the ferrocene, ferric acetone, ferric oxide, ferroferric oxide,
  fire extinguishing composition generating fire extinguishing 65 Sodium tungstate, potassium hexafluorotitanate, potassium
  Substances through high-temperature decomposition is pref hexafluorozirconate, titanium dioxide, calcium carbonate,
  erably more than 100 degrees centigrade, and can be: bro barium sulfate.
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                                 5                                                                 6
    There are other chemical substances which have the               oxamide, biuret, pentaerythritol, decabromodiphenyl ether,
  decomposition temperature of more than 100 degrees centi tetrabromophthalic anhydride, dibromoneopentyl glycol,
  grade, and can be composed to release the fire-extinguishing potassium citrate, sodium citrate, manganese citrate, magne
  Substances: sodium bicarbonate, potassium bicarbonate, dine.       sium citrate, copper citrate, ammonium citrate, nitroguani
  cobalt carbonate, Zinc carbonate, basic Zinc carbonate, man          The fire extinguishing composition in the present disclo
  ganese carbonate, ferrous carbonate, strontium carbonate,          Sure also can add various additives as required, such as the
  potassium sodium carbonate hexahydrate, calcium carbon Stearate,             graphite, combination solution of water soluble
  ate, dolomite, basic copper carbonate, Zirconium carbonate, polymer or the mixture thereof, wherein the content of the
  beryllium carbonate, sodium sesquicarbonate, cerous car 10 additive is less than or equal to 20 wt %.
  bonate, lanthanum carbonate, guanidine carbonate, lithium            Each component of the fire extinguishing compositionin
  carbonate, Scandium carbonate, Vanadium carbonate, chro            the present disclosure and the content thereof are preferably:
  mium carbonate, nickel carbonate, yttrium carbonate, silver          the fire extinguishing material: 80 wt % to 90 wt %,
  carbonate, praseodymium carbonate, neodymium carbonate,              the additive: 10 wt % to 20 wt %.
  Samarium carbonate, europium carbonate, gadolinium car 15 The fire extinguishing composition in the present disclo
  bonate, terbium carbonate, dysprosium carbonate, holmium sure can be molded to be spherical, flake-like, strip-like,
  carbonate, erbium carbonate, thulium carbonate, ytterbium block-like and cellular shapes by using the techniques of
  carbonate, lutecium carbonate, aluminum hydroxyacetate, pelleting, mould pressing, extruding and the like, and can be
  calcium acetate, sodium bitartrate, Sodium acetate, potassium processed with Surface coating treatment. Hydroxymethyl
  acetate, Zinc acetate, strontium acetate, nickel acetate, copper cellulose or hydroxyethyl cellulose is preferably added as the
  acetate, Sodium oxalate, potassium oxalate, ammonium Surface coating agent when implementing the Surface coating
  oxalate, nickel oxalate, manganese oxalate dihydrate, iron treatment. The Surface coating agent can improve the Surface
  nitride, Sodium nitrate, magnesium nitrate, potassium nitrate, finish of the composition system, improve the intensity, abra
  Zirconium nitrate, monocalcium phosphate, Sodium dihydro sion resistance and shock resistance thereof, and prevent the
  gen phosphate, sodium dihydrogen phosphate dihydrate, 25 accidents such as the fire-extinguishing composition is pull
  monopotassium phosphate, aluminium dihydrogen phos verized, has dropped dregs, and overflows from the fire extin
  phate, ammonium dihydrogen phosphate, Zinc dihydrogen guishing device during the transportation process.
  phosphate, manganous dihydrogen phosphate, magnesium                 The fire extinguishing composition in the present disclo
  dihydrogen phosphate, disodium hydrogen phosphate, diam sure is described more specifically below via the embodi
  monium hydrogen phosphate, calcium hydrogen phosphate, 30 mentS.
  magnesium hydrogen phosphate, ammonium phosphate,
  magnesium ammonium phosphate, ammonium polyphos                                DETAILED DESCRIPTION OF THE
  phate, potassium metaphosphate, potassium tripolyphos                                   EMBODIMENTS
  phate, sodium trimetaphosphate, ammonium hypophosphite,
  ammonium orthophosphite di-hydrogen, manganese phos 35 Respectively adding 30 g of the fire extinguishing compo
  phate, di-Zinc hydrogen phosphate, dimanganese hydrogen sition prepared by the fire extinguishing material and the
  phosphate, guanidine phosphate, melamine phosphate salt, additives described in the following table into the fire extin
  urea phosphate, hydrogen phosphate metaborate strontium, guishing device which has already been filled with 20g of the
  potassium, boric acid, ammonium pentaborate, potassium K type thermal aerosol generating agent, and respectively
  tetraborate.8HO, magnesium metaborate.8HO, ammonium 40 implementing fire extinguishing tests for a distributing fire in
  tetraborate.4H2O, strontium metaborate, strontium tetrabo a 1.0m test box; respectively testing 3 rounds for each group
  rate, strontium tetraborate.4H2O, sodium tetraborate. 10H2O, of samples, recording the fire extinguishing quantity and the
  manganese borate, Zinc borate, ammonium fluoroborate, fer residual quantity; the test result is as shown in Table 1.
  rous ammonium sulfate, aluminum sulfate, aluminium potas             The comparison embodiments are that: implementing fire
  sium Sulfate, aluminum ammonium sulfate, ammonium Sul 45 extinguishing tests for a distributing fire utilizing the fire
  fate, magnesium hydrogen Sulfate, aluminium hydroxide, extinguishing device samples which are only respectively
  magnesium hydroxide, ferric hydroxide, cobalt hydroxide, filled with 20 g commercial and normal S type aerosol fire
  bismuth hydroxide, strontium hydroxide, cerium hydroxide, extinguishing agent or Ktype aerosol fire extinguishing agent
  lanthanum hydroxide, molybdenum hydroxide, ammonium in the same 1.0 m test box, respectively testing 3 rounds for
  molybdate, Zinc stannate, magnesium trisilicate, telluric acid, 50 each group of the samples, recording the fire extinguishing
  manganese tungstate, manganite, cobaltocene, 5-aminotetra quantity and the residual quantity, and the experimental test
  Zole, guanidine nitrate, aZodicarbonamide, nylon powder, result is as shown in Table 1.
                                                                            TABLE 1.
                                                                Ingredient and test result comparison
                                                                                  Ingredient content of embodiments (mass percent)
                                     Ingredient                                     2              3            4             5      6

                  Fireextinguishing Commercial S type
                  material          fire extinguishing
                                     agent
                                     Commercial K type
                                     fire-extinguishing
                                     agent
                                     Pentabromotoluene                                                          2O
                                     hexabromocyclododecane                        75                                                5
                                     Perchloropentacyclodecan                                     75
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                                                              TABLE 1-continued
                                                        Ingredient and test result comparison
                      Phenyl diphenyl                                                                        70
                      phosphate oligomer
                      Tri (2,2-                              14              2O                                      85
                      di (bromomethyl)-3-
                      bromopropyl)phosphate
                      Melamine cyanurate                                                                             10            70
                      Melamine
                      orthophosphate
                      Guanidine carbonate                                                    15                                    10
                      Urea                                                                    5               5                    10
                      Magnesium stearate                      3               3               2.5             2       2                2
                      Sodium silicate                                                                          1                       1
  Surface coating agent
  Hydroxyethyl cellulose                                      3               2               2.5             2       3                2
                                                                  Test result comparison
  Fire extinguishing situation                               Four            Four           Three            Three   Four          Four
                                                             fire            fire            fire             fire   fire          fire
                                                        extinguished extinguished extinguished extinguished extinguished extinguished
  Residual quantity 96                                       29.1            26.8            31.4            33.4    27.9          25.3
                                                                                     Ingredient content of                Comparison
                                                                                  embodiments (mass percent)              embodiment
                                        ngredient                             7               8                9      1                2

                 Fireextinguishing Commercial Stype                                                                   M
                 material          fire extinguishing
                                   agent
                                   Commercial K type                                                                                   M
                                        fire-extinguishing
                                     agent
                                        Pentabromotoluene                    25
                                        hexabromocyclododecane
                                        Perchloropentacyclodecan                             10
                                        Phenyl diphenyl                                                      10
                                     phosphate oligomer
                                     Tri (2,2-
                                     di (bromomethyl)-3-
                                     bromopropyl)phosphate
                                     Melamine cyanurate
                                     Melamine                                65                              10
                                     orthophosphate
                                     Guanidine carbonate                                     8O
                                     Urea                                                     5              70
                                     Magnesium Stearate                       3               2.5             3
                                     Sodium silicate                                          5               4
                 Surface coating agent
                 Hydroxyethyl cellulose                                       2               2.5             3
                                                                         Test result comparison
                 Fire extinguishing situation                               Three           Three            Three   Two           Two
                                                                             fire            fire             fire   fire          fire
                                                                         extinguished extinguished extinguished extinguished extinguished
                 Residual quantity 96                                        28.1            32.6            30.1    46.7          46.7


                                                                                       50
     The fire extinguishing performance in the above table is the spaces, which are staggered up and down in pairs; in addition,
  least fire extinguishing numbers of the three tests which are a fuel tank is put at the bottom of the experimental space
  implemented, the residual quantity is the average residual behind the baffle plate. N-heptane is filled in the fuel tank, and
  quantity of the three experiments; from the test results in the the bottom of the tank uses clear water as a cushion layer.
  above table, it can be seen that the fire-extinguishing perfor 55 The above specific embodiments are only examples; under
  mances of the fire-extinguishing compositions of the embodi the above instructions of the present disclosure, those skilled
  ments 1-9 in the present disclosure are all superior to the in the art can implement various improvements and deforma
  comparison embodiments 1 and 2 when implementing the fire tions on the basis of the above embodiments; and all the
  extinguishing test for a distributing fire in the 1.0 m test box, improvements or deformations shall fall within the protection
  and the residual quantities are all Smaller than the comparison 60 scope of the present disclosure. Those skilled in the art should
  embodiments 1 and 2.                                               know that, the above specific descriptions are only used for
     The experimental method is based on the concentration explaining the purposes of the present disclosure, without
  distribution test method of 7.13 in GA 499-2004, the fire          limiting the present disclosure.
  extinguishing test is implemented in the 1 m test box; five 65                              Various embodiments of the invention have been
  steel-made test tanks are placed in the testbox; four fuel tanks                          described. These and other embodiments are within the scope
  are respectively placed in four corners of the experimental                               of the following claims.
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                                9                                                             10
    The invention claimed is:                                      phenyl phosphine oxide, bis(4-hydroxyphenyl) phenyl phos
    1. A fire extinguishing device wherein the fire extinguish     phine oxide or phenyl phosphate diphenyl sulfone ester oli
  ing device comprising:                                           gomer.
    a nozzle; and                                                      7. The fire extinguishing device according to claim 3,
     a composition comprising a pyrotechnic agent and a fire wherein the phosphorus-halogen based fire extinguishing
        extinguishing composition placed within the fire extin material is tri(2,2-di bromomethyl-3-bromopropyl) phos
        guishing device;                                            phate, tri(dibromophenyl) phosphate, 3,9-di(tribromophe
     the fire extinguishing composition is arranged above the noxy)-2,4,8,10-tetroxa-3,9-diphosphaspiro ring 5,5-3,9-di
        pyrotechnic agent within the fire extinguishing device oxide undecane, 3,9-di(pentabromophenoxy)-2,4,8.10
        closer to the nozzle of the fire extinguishing device, 10 tetroxa-3,9-diphosphaspiro ring 5,5-3,9-dioxide undecane,
     the fire extinguishing composition generates fire extin        1-oxo-4-tribromophenyl oxycarbonyl-2,6,7-trioxa-1-phos
        guishing Substance by high-temperature decomposition, phabicyclo 2.2.2 octane, p-phenylene tetra(2,4,6-tribro
        wherein the fire extinguishing composition comprises: a mophenyl) bisphosphate, 2,2-dimethyl-1,3-propanediyl -di
        fire extinguishing material which can be decomposed to (neopentyl glycolato) bisphosphate or 3,9-di(tribromo
        release a fire extinguishing Substance with fire extin 15 neopentyloxy)-2,4,8,10-tetroXa-3,9-diphosphaspiro ring 5.
        guishing properties during aheating process, the content 5-3,9-dioxide undecane.
        of the fire extinguishing material being at least 80 wt %;     8. The fire extinguishing device according to claim 3,
     wherein the pyrotechnic agent is adopted as a heat Source wherein the nitrogen-based and phosphorus-nitrogen based
        and a power source in a process offire extinguishing, the fire extinguishing material is melamine cyanurate, melamine
        pyrotechnic agent is a pyrotechnic aerosol fire extin orthophosphate, dimelamine orthophosphate, melamine
        guishing agent, and                                         polyphosphate, melamine borate, melamine octamolybdate,
     wherein fire extinguishing is achieved by:                     tri-hydroxyethyl isocyanurate, 2,4-diamino-6-(3,3,3-trichlo
        igniting the pyrotechnic agent,                             ropropyl)-1,3,5-triazine, 2,4-di(N-hydroxymethylamino)-6-
        generating a large quantity of fire extinguishing Sub (3,3,3-trichloropropyl-1,3,5-triazine), phosphate dibasic
           stance from the fire extinguishing composition in the 25 guanidine, guanidinium dihydrogen phosphate, guanidine
           use of high temperature produced by burning pyro carbonate, guanidine Sulfamate, urea, urea dihydrogen phos
           technic agent, and                                       phate, dicyandiamide, bis(2,6,7-trioxa-1-phospha-bicyclo2.
        the fire extinguishing Substance spraying out together 2.2 octane-1-oxy-4-methyl) hydroxy phosphate melamine,
           with the pyrotechnic agent.                              3,9-dihydroxy-3,9-dioxy-2,4,8,10-tetroxa-3,9-diphos
     2. The fire extinguishing device according to claim 1, 30 phaspiro ring 5.5 undecane-3,9-dimelamine, 1,2-di(2-oxy
  wherein the fire extinguishing material is a composition 5,5-dimethyl-1,3-dioxa-2-phosphorus heterocyclic hexyl-2-
  which has a melting point of more than 100 degrees centi amino) ethane, N,N'-di(2-oxy-5,5-dimethyl-1,3-dioxa-2-
  grade, and can be decomposed into fire extinguishing Sub phosphorus heterocyclic hexyl)-2,2'-m-phenylenediamine,
  Stance.                                                           tri(2-oxy-5,5-dimethyl-1,3-dioxa-2-heterocyclic hexyl-2-
     3. The fire extinguishing device according to claim 1, 35 methyl)amine or phosphonitrilic chloride trimer.
  wherein the composition comprises a bromine-based fire               9. The fire extinguishing device according to claim 3,
  extinguishing material, a chlorine-based fire extinguishing wherein the inorganic fire extinguishing material is ammo
  material, an organophosphorus-based fire extinguishing nium polyphosphate, diammonium hydrogen phosphate,
  material, a phosphorus-halogen based fire extinguishing ammonium dihydrogen phosphate, Zinc phosphate, alu
  material, a nitrogen-based and phosphorus-nitrogen based 40 minium phosphate, boron phosphate, antimony trioxide, alu
  fire extinguishing material or an inorganic fire extinguishing minium hydroxide, magnesium hydroxide, hydromagnesite,
  material.                                                        alkaline aluminum oxalate, Zinc borate, barium metaborate,
    4. The fire extinguishing device according to claim 3, Zinc oxide, Zinc sulfide, Zinc sulfate heptahydrate, aluminum
  wherein the bromine-based fire extinguishing material is tet borate whisker, ammonium octamolybdate, ammonium hep
  rabromobisphenol A, tetrabromobisphenol A ether, 1.2-bis 45 tamolybdate, Zinc Stannate, tin oxide, ferrocene, ferric
  (tribromophenoxy) ethane, tetrabromophthalic anhydride, acetone, ferric oxide, ferroferric oxide, Sodium tungstate,
  N,N-ethylene-bis(tetrabromophthalimide, decabromodiphe potassium hexafluorotitanate, potassium hexafluoro Zircon
  nyl ether, 1,4-Bis(pentabromophenoxy)tetrabromobenzene, ate, titanium dioxide, calcium carbonate or barium Sulfate.
  1.2-bis(pentabromophenyl) ethane, bromo trimethylphenyl          10. The fire extinguishing device according to claim 1,
  indane, pentabromobenzyl acrylate, hexabromo-benzene, 50 wherein the composition also can comprises sodium bicar
  pentabromotoluene, hexabromocyclododecane, N,N'-1,2- bonate, potassium bicarbonate, cobaltous carbonate, Zinc car
  ethylene-bis(5,6-dibromonorbomane-2,3-dicarboximide),          bonate, basic Zinc carbonate, manganese carbonate, ferrous
  brominated Styrene copolymer, tetrabromobisphenol A car carbonate, strontium carbonate, potassium sodium carbonate
  bonate oligomer, polypentabromobenzyl acrylate or poly hexahydrate, calcium carbonate, dolomite, basic copper car
  dibromo phenylene ether.                                    55 bonate, Zirconium carbonate, beryllium carbonate, sodium
    5. The fire extinguishing device according to claim 3,       sesquicarbonate, cerous carbonate, lanthanum carbonate,
  wherein the chlorine-based fire extinguishing material is guanidine carbonate, lithium carbonate, Scandium carbonate,
  dechlorane plus, chlorendic anhydride, perchloropentacyclo Vanadium carbonate, chromium carbonate, nickel carbonate,
  decan, tetrachlorobisphenol A, chlorinated polypropylene, yttrium carbonate, silver carbonate, praseodymium carbon
  chlorinated polyvinyl chloride, vinyl chloride-vinylidene 60 ate, neodymium carbonate, Samarium carbonate, europium
  chloride copolymer or chlorinated polyether.                   carbonate, gadolinium carbonate, terbium carbonate, dyspro
     6. The fire extinguishing device according to claim 3,      sium carbonate, holmium carbonate, erbium carbonate, thu
  wherein the organophosphorus-based fire extinguishing lium carbonate, ytterbium carbonate, lutecium carbonate,
  material is 1-oxo-4-hydroxymethyl-2,6,7-trioxa-1-phos aluminum hydroxyacetate, calcium acetate, sodium bitar
  phabicyclo 2.2.2]octane, 2.2-dimethyl-1,3-propanediyl -di 65 trate, sodium acetate, potassium acetate, Zinc acetate, stron
  (neopentylglycolato) bisphosphate, 9,10-dihydro-9-Oxa-10 tium acetate, nickel acetate, copper acetate, Sodium oxalate,
  phosphaphenanthrene-10 oxide, bis(4-carboxyphenyl) potassium oxalate, ammonium oxalate, nickel oxalate, man
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                                                   US 9,199,108 B2
                               11                                                            12
  ganese oxalate dihydrate, iron nitride, Sodium nitrate, mag ide, cobalt  hydroxide,  bismuth   hydroxide, strontium hydrox
  nesium nitrate, potassium nitrate, Zirconium nitrate, mono ide, cerium hydroxide, lanthanum hydroxide, molybdenum
  calcium phosphate, sodium dihydrogen phosphate, sodium hydroxide, ammonium molybdate, Zinc Stannate, magnesium
  dihydrogen phosphate dihydrate, monopotassium phosphate, trisilicate, telluric acid, manganese tungstate, manganite,
  aluminium dihydrogen phosphate, ammonium dihydrogen 5 cobaltocene, 5-aminotetrazole, guanidine nitrate, aZodicar
  phosphate, Zinc dihydrogen phosphate, manganese dihydro bonamide, nylon powder, oxamide, biuret, pentaerythritol,
  gen phosphate, magnesium dihydrogen phosphate, disodium decabromodiphenyl ether, tetrabromophthalic anhydride,
  hydrogen phosphate, diammonium hydrogen phosphate, cal dibromoneopentylglycol, potassium citrate, sodium citrate,
  cium hydrogen phosphate, magnesium hydrogen phosphate, manganese citrate, magnesium citrate, copper citrate, ammo
  ammonium phosphate, magnesium ammonium phosphate, 10 nium citrate or nitroguanidine.
  ammonium polyphosphate, potassium metaphosphate, potas         11. The fire extinguishing device according to claim 3,
  sium tripolyphosphate, sodium trimetaphosphate, ammo
  nium hypophosphite, ammonium orthophosphite di-hydro wherein the fire extinguishing composition also includes an
  gen, manganese phosphate, di-Zinc hydrogen phosphate, additive, of which the content is less than or equal to 20 wt %.
  dimanganese hydrogen phosphate, guanidine phosphate, 15 12. The fire extinguishing device according to claim 11,
  melamine phosphate salt, urea phosphate, hydrogen phos wherein the additive is Stearate, graphite, combination solu
  phate metaborate strontium, hydrogen phosphate strontium tion13.ofThe
                                                                      water soluble polymer or the mixture thereof.
                                                                           fire extinguishing device according to claim 11,
  metaborate potassium, boric acid, ammonium pentaborate, wherein: each        component of the fire extinguishing composi
  potassium tetraborate.8H2O, magnesium metaborate.8H2O, tion and the content        thereof are:
  ammonium tetraborate.4H2O, strontium metaborate, stron         the fire extinguishing  material: 80 wt % to 90 wt %,
  tium tetraborate, strontium tetraborate.4H2O, sodium           the additive: 10 wt % to 20 wt %.
  tetraborate. 10H2O, manganese borate, Zinc borate, ammo        14. The fire extinguishing device according to claim 1,
  nium fluoroborate, ferrous ammonium Sulfate, aluminum Sul   wherein:   the fire extinguishing composition is implemented
  fate, aluminium potassium sulfate, aluminum ammonium with a Surface          coating treatment.
  Sulfate, ammonium sulfate, magnesium hydrogen Sulfate, 25
  aluminium hydroxide, magnesium hydroxide, ferric hydrox                              k   k   k    k  k
